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               United States Bankruptcy Court
                                  Eastern District of Louisiana



CORNELIUS J. DUPARD, IV
37063 COBBLESTONE AVE                                                                 15-12249
GEISMAR LA 70734                                                                         Chapter 13
                                                                                          Section B



                       TRUSTEE'S NOTICE OF FINAL CURE PAYMENT

Pursuant to FRBP 3002.1(f), your trustee avers that the debtor has paid in full the amount required
to cure any default on the claim detailed below. Furthermore, the holder of the claim is hereby
informed that if the claim is secured by the debtor's principal residence, and provided for under 11
USC 1322(b)(5) in the debtor's plan, within 21 days after service of this notice, the holder of the
claim shall file and serve on the debtor, debtor's counsel, and the trustee a statement indicating
(1) whether it agrees that the debtor has paid in full the amount required to cure the default on the
claim, and (2) whether the debtor is otherwise current on all payments consistent with 11 USC
1322(b)(5). The statement shall itemize the required cure or postpetition amounts, if any, that the
holder contends remain unpaid as of the date of the statement. The statement shall be filed as a
supplement to the holder's proof of claim and is not subject to Rule 3001(f).



        PHH MORTGAGE CORPORATION                claim amount:   $17,500.00
        PO BOX 371458                             date filed:   December 11, 2015
        PITTSBURGH PA 15250                            class:   PRE PET ARRS
                                                 acct number:   6950




Attorney for debtor:                                                 /s/ S.J. Beaulieu, Jr.
                                                                     S.J. Beaulieu, Jr.
MARY M TAYLOR                                                        Chapter 13 Trustee
mary@pontchartrainlaw.com
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                                   CERTIFICATE OF SERVICE

I certify that the Trustee's Notice of Final Cure Payment was served by the court's electronic filing
system upon the debtor's attorney, and by first class mail upon the debtor and the pertinent
creditor, at the addresses listed below:


MARY M TAYLOR
mary@pontchartrainlaw.com


CORNELIUS J. DUPARD, IV
37063 COBBLESTONE AVE
GEISMAR LA 70734


PHH MORTGAGE CORPORATION
PO BOX 371458
PITTSBURGH PA 15250



08/26/2020                   by:    /s/ Beverly Faulkenbery
